                 Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 1 of 8



 1                                                                       THE HONORABLE ROBERT J. BRYAN

 2
 3
 4
 5
 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
 8                                           AT TACOMA

 9
10               STATE OF WASHINGTON,                               Case No.: 3:17-cv-05806-RJB
11                                          Plaintiff,
                                                                    DECLARATION OF JOAN K. MELL ON
12               v.                                                 JOINDER
13
                 THE GEO GROUP, INC.,
14
                                            Defendant.
15
16
17             I, Joan K. Mell, make the following statement under oath subject to the penalty of perjury
18   pursuant to the laws of the United States and the State of Washington:
19
     1. I am the attorney for The GEO Group, Inc. in the above-captioned matter. I am over the age of
20
21         eighteen (18), and I am competent to testify in this matter.

22   2. Attached at Exhibit A is a true and correct copy of the congressional Letter to Jeff Sessions,
23
           Alexander Acosta, and Thomas Homan.
24
     3. With regard to conferring on joinder, I have conferred with La Rond Baker about the need to
25
26         join ICE during our joint status conference. We did not reach a common understanding about

27         ICE as a required party.
28
     ///
29
30                                                                                          III BRANCHES LAW, PLLC
                                                                                                    Joan K. Mell
      DECLARATION OF JOAN K. MELL ON JOINDER                                                 1019 Regents Blvd. Ste. 204
31    3:17-cv-05806-RJB                                  1! of !3                                Fircrest, WA 98466
                                                                                                  253-566-2510 ph
             Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 2 of 8



 1         Dated this 20th day of March, 2018 at Fircrest, WA.
 2         III Branches Law, PLLC
 3
           ________________________
 4         Joan K. Mell, WSBA #21319
 5         Attorney for The Geo Group, Inc.

 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30                                                                  III BRANCHES LAW, PLLC
                                                                            Joan K. Mell
     DECLARATION OF JOAN K. MELL ON JOINDER                          1019 Regents Blvd. Ste. 204
31   3:17-cv-05806-RJB                           2! of !3                Fircrest, WA 98466
                                                                          253-566-2510 ph
               Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 3 of 8



 1                                      CERTIFICATE OF SERVICE
 2          I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action. On
 4
     March 20, 2018, I electronically filed the above Declaration of Joan K. Mell, with the Clerk of the
 5
 6   Court using the CM/ECF system and served via Email to the following:

 7   Office of the Attorney General                            Norton Rose Fulbright US LLP
     La Rond Baker, WSBA No. 43610                             Mark Emery (Pro Hac Vice)
 8
     Marsha Chien, WSBA No. 47020                              799 9th St. NW, Suite 1000
 9   Andrea Brenneke, WSBA No. 22027                           Washington, DC 20001-4501
     800 Fifth Avenue, Suite 2000                              (202)-662-0210
10
     Seattle, WA 98104                                         mark.emery@nortonrosefulbright.com
11   LaRondB@atg.wa.gov
     MarshaC@atg.wa.gov
12
     andreab3@atg.wa.gov
13
     Norton Rose Fulbright US LLP                              Norton Rose Fulbright US LLP
14
     Charles A. Deacon (Pro Hac Vice)                          Andrea D'Ambra (Pro Hac Vice)
15   300 Convent St.                                           1301 Avenue of the Americas
16   San Antonio, TX 78205                                     New York, NY 10019
     (210)-270-7133                                            (212)-318-3015
17   charlie.deacon@nortonrosefulbright.com                    andrea.dambra@nortonrosefulbright.com
18
19          I certify under penalty of perjury under the laws of the State of Washington that the above
20   information is true and correct.
21
            DATED this 20th day of March, 2018 at Fircrest, Washington.
22
23
24                  Joseph Fonseca, Paralegal
25
26
27
28
29
30                                                                                     III BRANCHES LAW, PLLC
                                                                                               Joan K. Mell
      DECLARATION OF JOAN K. MELL ON JOINDER                                            1019 Regents Blvd. Ste. 204
31    3:17-cv-05806-RJB                             3! of !3                                Fircrest, WA 98466
                                                                                             253-566-2510 ph
Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 4 of 8




                                           Exhibit A
                                                   Congressional Letter




                                                                EX 000001
Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 5 of 8




                                                                EX 000002
Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 6 of 8




                                                                EX 000003
Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 7 of 8




                                                                EX 000004
Case 3:17-cv-05806-RJB Document 52 Filed 03/20/18 Page 8 of 8




                                                                EX 000005
